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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                     GALVESTON DIVISION

ABS-CBN CORPORATION, et al.,                                  §
                                                              §
            Plaintiffs,                                       §
                                                              §
V.                                                            §     CASE NO. 3:19-cv-00397
                                                              §
ANTHONY BROWN,                                                §
                                                              §
           Defendant.                                         §

       PLAINTIFFS’ MOTION FOR ENTRY OF A FINAL DEFAULT JUDGMENT
             AND PERMANENT INJUNCTION AGAINST DEFENDANT,
                   AND MEMORANDUM OF LAW IN SUPPORT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

            Plaintiffs ABS-CBN Corporation, ABS-CBN Film Productions, Inc. d/b/a Star

Cinema, and ABS-CBN International (collectively, “ABS-CBN” or “Plaintiffs”) file this

Motion for Entry of a Final Default Judgment and Permanent Injunction Against

Defendant, and Memorandum of Law in Support (“Motion”).

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                                                                                                                                                I. NATURE AND STAGE OF THE PROCEEDING

                                                           This case involves the theft of federally protected communications, and federal

trademark infringement and counterfeiting. Specifically, on December 5, 2019, ABS-

CBN filed this action against the defendant, Anthony Brown [a/k/a Tony Brown and Ann

Ong, and d/b/a 1700 Cuts Technology and Life for Greatness] (“Defendant”), for the

unauthorized use or publication of communications services in violation of Section 705

of the Federal Communications Act of 1934, as amended, (“Communications Act”) (47

U.S.C. § 605), and for trademark counterfeiting and infringement in violation of the

Lanham Act (15 U.S.C. § 1114).1 See Plaintiffs’ Complaint [Dkt. 1]. In short, the

Defendant is using counterfeits and infringements of ABS-CBN’s trademarks in

connection with his illegal promotion and sale of “Smart” TV boxes that have been

designed or modified to circumvent ABS-CBN’s encryption technology to enable his

customers to unlawfully intercept and access ABS-CBN’s copyrighted programming

without compensating ABS-CBN (these illegal devices and the unauthorized use or

publication of ABS-CBN’s programming are hereinafter referred to as “Pirate Boxes” or

“Pirate Equipment,” and “Pirate Services,” respectively).

                                                           On December 20, 2019, ABS-CBN moved the Court to allow substitute service on

the Defendant [Dkt. 7], since previous attempts to serve him in person at 16301
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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       ABS-CBN has also asserted a claim for communications theft under Section
134.002 of the Texas Civil Practice & Remedies Code, which incorporates Section 31.12
of the Texas Penal Code (the “State Claim”). Since the analysis of liability for ABS-
CBN’s State Claim is generally the same as that for its Communications Act claims, the
State Claim will not be addressed separately in this Motion.



                                                                                                                                                                                                                                                    1
	  
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Wimberly Lane, Rosharon, Texas 77583 (“Wimberly Lane Location” or “Location”) –

which, upon information and belief, is where he resides and runs his illegal operation –

were unsuccessful because (1) the Defendant was able to actively evade service on at

least one occasion by misrepresenting his true identity to the process server; and (2) the

Location is surrounded by a fence bearing multiple “no trespass” signs with a locked gate

at the entrance of the driveway leading up to the trailer home on the property, making the

Defendant’s residence virtually inaccessible. See the Declaration of Eric Johnson [Dkt.

7-1, ¶¶ 4-9].

                                                           On January 2, 2020, the Court entered an order (“Order”) authorizing ABS-CBN

to effect service on the Defendant by, among other things, “leav[ing] a copy of the

service package2 with a person over the age of 16 at [Defendant’s] residence located at

16301 Wimberly Lane, Rosharon, Texas 77583 ....” See Dkt. 8.

                                                           On January 9, 2020, the Defendant was duly served with process in accordance

with the Court’s Order when Plaintiffs’ process server left a copy of the Service Package

at the Wimberly Lane Location with James Mumford – an adult, who owns and resides at

the Location.3 See Plaintiffs’ Proof of Service on Defendant Anthony Brown [Dkt. 9].

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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       Pursuant to the Order, the service package was to contain “(i) the summons; (ii)
original complaint and exhibits; (iii) civil cover sheet; (iv) order for conference and
disclosure of interested parties; (v) plaintiffs’ corporate disclosure statement; (vi) Judge
Andrew Edison’s Court Procedures; and (vii) [the] order granting substitute service
[collectively, the “Service Package”].” See Dkt. 8.
	  
3
       ABS-CBN would further note that the Defendant had already received actual
notice that he was being sued in this case on December 11, 2019, when the process
server, Eric Johnson, apprised him of this fact, but the Defendant lied about his true
identity to evade service. See the Declaration of Eric Johnson [Dkt. 7-1, ¶¶ 5-8].
                                                                                                                                                                                                                                                    2
	  
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                                                          Though his answer was due by January 30, 2019, the Defendant failed to timely

answer or otherwise respond to Plaintiffs’ Complaint.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Consequently, ABS-CBN

requested that the Clerk of this Court enter a default against the Defendant pursuant to

Rule 55(a) of the Federal Rules of Civil Procedure (“Rule(s)”) [Dkt. 11], and a default

was correspondingly entered against the Defendant on February 25, 2020 [Dkt. 13].

                                                          Since the Defendant has still failed to respond to Plaintiffs’ Complaint or

otherwise enter an appearance in this case, ABS-CBN now seeks entry of a Final Default

Judgment and Permanent Injunction (“Judgment”) against the Defendant pursuant to Rule

55(b)(2).4 By virtue of his default, the Defendant is deemed to have admitted the well-

pleaded factual allegations contained in Plaintiffs’ Complaint (except those relating to the

amount of damages), thereby establishing his liability to ABS-CBN for the unauthorized

use and publication of communications services in violation of 47 U.S.C. § 605 (the

“Communications Act Claims”), and for willful trademark counterfeiting and

infringement in violation of 15 U.S.C. § 1114 (the “Lanham Act Claims”). See, e.g., J &

J Sports Prods., Inc. v. Tejada, 2014 WL 869218 (W.D. Tex. Mar. 4, 2014).

                                                          For the reasons set forth in detail below, ABS-CBN hereby seeks a Judgment

awarding Plaintiffs with (1) a permanent injunction enjoining further violations; and (2)

statutory damages under both 47 U.S.C. § 605(e)(3)(C)(i)(II) and 15 U.S.C. § 1117(c).

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  

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       In compliance with Fed. R. Civ. P. 55(b)(2) and 50 U.S.C. § 3931, ABS-CBN
affirms that the Defendant is neither an infant nor incompetent, and that he is not
currently in the U.S. military service, nor was he at the time this action was filed or at any
time during the four (4) month period prior thereto. See Appendix (“App.”) Ex. A –
Abbott Decl. ¶ 3, pp. 1-2.
                                                                                                                                                                                                                                                                                                                                                                                        3
	  
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                           II. ISSUES TO BE RULED UPON

        1.     Should a final default judgment be entered against the Defendant that (1)

permanently enjoins him from, among other things, (i) promoting and selling his Pirate

Boxes and Pirate Services, and (ii) counterfeiting and infringing ABS-CBN’s trademarks;

and (2) awards ABS-CBN statutory damages under both 47 U.S.C. § 605(e)(3)(C)(i)(II)

and 15 U.S.C. § 1117(c)?

        2.     How much should ABS-CBN be awarded in (1) statutory damages under

47 U.S.C. § 605(e)(3)(C)(i)(II); and (2) statutory damages under 15 U.S.C. § 1117(c)?

                             III. STANDARD OF REVIEW

        The entry of a default judgment is entrusted to the sound discretion of the district

court. See, e.g., Arthur F. Williams, Inc,. v. Helbig, 208 F.R.D. 41, 44 (E.D.N.Y. 2002);

Enron Oil Corp. v. Diakuhara, 10 F.3d 90, 95 (2d Cir. 1993). Accordingly, the standard

for reviewing the entry of a default judgment is whether there was an abuse of discretion.

See Lacy v. Sitel Corp., 227 F.3d 290, 292 (5th Cir. 2000).

        Likewise, both Section 605(e)(3)(C)(i)(II) of the Communications Act and Section

1117(c) of the Lanham Act give district courts broad discretion over the amount of

statutory damages awarded in cases brought under these Acts. See, e.g., Cable/Home

Communication Corp. v. Network Productions, Inc., 902 F.2d 829, 852-53 (11th Cir.

1990) (district courts have great discretion in awarding statutory damages within the

statutory limits of the Communications Act); Dial One of the Mid-South, Inc. v.

BellSouth Telecomms., Inc., 269 F.3d 523, 527 (5th Cir. 2001) (“[Section] 1117 of the

Lanham Act gives the district court broad discretion over the amount of damages.”). The

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standard for reviewing the sufficiency of evidence supporting an award of statutory

damages under both Sections 605(e)(3)(C)(i)(II) and 1117(c) is whether there was an

abuse of discretion. See, e.g., Cable/Home, 902 F.2d at 852; Dial-One, 269 F.3d at 527.

                        IV. SUMMARY OF THE ARGUMENT

        ABS-CBN’s claims against the Defendant under both the Communications Act

and the Lanham Act are established by virtue of his default. See, e.g., U.S. for the use of

M-CO Constr., Inc.v. Shipco General Inc., 814 F.2d 1011, 1014 (5th Cir. 1987). Having

established its claims, ABS-CBN seeks (1) a permanent injunction enjoining the

Defendant from committing further violations; and (2) statutory damages under both

Section 605(e)(3)(C)(i)(II) of the Communications Act and Section 1117(c) of the

Lanham Act.

        The issuance of a permanent injunction is a proper remedy for violations of both

the Communications Act and the Lanham Act. See, e.g., 47 U.S.C. § 605(e)(3)(B)(i);

Wescosign, Inc. v. IFG Holdings, Inc., 845 F. Supp. 2d 1072, 1083 (C.D. Cal. 2012)

(permanent injunctive relief is the remedy of choice for trademark infringement cases).

Accordingly, ABS-CBN requests a permanent injunction enjoining the Defendant from,

among other things, continuing to (1) illegally promote and sell his Pirate Boxes and

Pirate Services; and (2) counterfeit and infringe ABS-CBN’s trademarks.

        Plaintiffs are also entitled to elect statutory damages in both Communications Act

cases and federal trademark counterfeiting cases such as this.          See 47 U.S.C. §

605(e)(3)(C)(i)(II); 15 U.S.C. § 1117(c).       In particular, Section 605(e)(3)(C)(i)(II)

provides that an aggrieved party may recover not less than $10,000 nor more than

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$100,000 for each violation of Section 605(e)(4) where the violator is selling devices

such as the Pirate Boxes at issue in this case. Likewise, Section 1117(c)(2) provides that

when the defendant’s counterfeiting actions are willful as they are here, the court may

impose up to $2,000,000 per counterfeit mark per type of good or service infringed.

        Although the Defendant’s default has deprived ABS-CBN of the discovery

necessary to determine the number violations he committed, the Defendant’s illegal

operation was, by his own admissions, widespread. While the evidence indicates that the

Defendant’s sales of Pirate Boxes and Pirate Services were considerable, ABS-CBN only

seeks (1) the maximum award of $100,000 for one violation of Section 605(e)(4)

(namely, the Pirate Box that the Defendant sold ABS-CBN’s investigator on October 15,

2019, and that ABS-CBN’s analysis confirmed was illegally modified to intercept its

copyrighted programming); and (2) a total award of $2,000,000 under Section 1117(c) for

the two (2) counterfeit ABS-CBN Registered Marks that the Defendant willfully used to

promote and sell his Pirate Boxes and Pirate Services. As set forth in Sections VII(4)

below, the amounts requested are reasonable under the facts presented, less than or

commensurate with the amounts awarded in similar cases, and fairly achieve the

legislative purpose of such awards: compensation, punishment, and deterrence.

                      V. RELEVANT BACKGROUND FACTS

1. Plaintiffs’ World-Renowned Entertainment Services, Satellite TV Broadcasts,
   and Encryption Technology

        ABS-CBN is the largest media and entertainment company in the Philippines. See

Complaint at ¶ 20 [Dkt. 1, p. 6]; App. Ex. B – Lawrence Decl. ¶ 4, p. 2. With its twelve


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large production studios, ABS-CBN produces over 2,430 hours of original content every

year, including movies, daily television series, documentaries, news and current affairs

programs, musical and variety shows, game shows, reality shows, music video programs,

and AM and FM radio shows. Id. Every day, ABS-CBN’s programming is broadcast

worldwide by its agreements with dozens of cable companies’ premium channels,

telecom provider partnerships, and Internet subscription services; and through its own 24-

hour cable and satellite service, which offers pay-per-view programming. Id.

        ABS-CBN transmits its programming by relaying direct signals from within the

Philippines up to satellites in orbit above the Earth. See Complaint at ¶ 21 [Dkt. 1, p. 6];

App. Ex. D – Fuente Decl. ¶ 3, p. 2. These signals are then broadcast back down to

Earth. Id. Thereafter, ABS-CBN’s programming is received by authorized subscribers

through the use of a private satellite dish connected to an indoor satellite box, which is

then connected by a cable to a television monitor. Id. This setup allows authorized

subscribers to receive their ABS-CBN programming. Id.

        To prevent the unauthorized reception and use of ABS-CBN’s broadcasts by

individuals who have not paid for ABS-CBN’s services, ABS-CBN employs encryption

technology to digitally scramble the signal, making it unusable until it is descrambled.

See Complaint at ¶ 22 [Dkt. 1, p. 6]; App. Ex. D – Fuente Decl. ¶ 4, p. 2. The satellite

box is the component that makes descrambling possible. Id. Every satellite box has a

conditional access subsystem built directly into it, which allows for the descrambling of

ABS-CBN’s content. Id. Each paying customer receives a unique entitlement

management message from the satellite feed, which allows the conditional access

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subsystem to descramble the signal. Id. This equipment and technology is referred to

herein as the “encryption technology,” and constitutes ABS-CBN’s technological access

control measures for its copyrighted content and communications. Id.

2. Plaintiffs’ Trademarks

         ABS-CBN has long used the federally registered trademarks “ABS-CBN”

(Registration No. 2,334,131) and “TFC” (Registration No. 3,733,072) (collectively, the

“ABS-CBN Registered Marks”) to identify and distinguish its high-quality services,

including its entertainment distribution services. See Complaint at ¶ 11 [Dkt. 1, p. 4];

App. Ex. B – Lawrence Decl. ¶ 7, pp. 3-4. True and correct copies of the Certificates of

Registration for the ABS-CBN Registered Marks are attached to both Plaintiffs’

Complaint and the Lawrence Declaration as Exhibit 1.

         ABS-CBN has also used the following common law trademark (the “ABS-CBN

Common Law Trademark”) for many years to identify and distinguish its high-quality

products and services, including its broadcasting distribution services:




See Complaint at ¶¶ 15-16, and 19 [Dkt. 1, p. 5]; App. Ex. B – Lawrence Decl. ¶ 8, p. 4.

         While plaintiff ABS-CBN International is, and all times relevant to this action has

been, the registered owner of the ABS-CBN Registered Marks and the owner of the

ABS-CBN Common Law Trademark (collectively, the “ABS-CBN Marks” or “Marks”),

plaintiffs ABS-CBN Corporation, ABS-CBN Film Productions, Inc., and ABS-CBN

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International all share exclusive rights in and to the ABS-CBN Marks, and are all

licensed to use and enforce the ABS-CBN Marks. Id. at ¶¶ 11, 15 and 19 [Dkt. 1, pp. 4-

5]; App. Ex. B – Lawrence Decl. ¶ 9, p. 5. These Marks have never been abandoned by

ABS-CBN, and the Defendant has never been licensed or otherwise authorized to use the

Marks in any way. See, e.g., id. at ¶¶ 13-14, 17-18, and 31 [Dkt. 1, pp. 5 and 8]; App.

Ex. B – Lawrence Decl. ¶¶ 11 and 17, pp. 5 and 7-8, respectively.

3. Defendant’s Illegal Activities

         Again, as set forth in Plaintiffs’ Complaint and established by the evidence

submitted herewith, the Defendant is engaged in a widespread “piracy” scheme in which

he is illegally promoting and selling “Smart” TV boxes that have been designed or

modified to circumvent ABS-CBN’s encryption technology to enable his customers to

unlawfully intercept and access ABS-CBN’s copyrighted programming without

compensating ABS-CBN. See, e.g., Complaint ¶¶ 1-2, and 23-54 [Dkt. 1, pp. 1-2 and 7-

13].

         Moreover, as set forth in the Complaint and reflected in the screenshots that are

attached to the Complaint and Lawrence Declaration as Exhibit 2, the Defendant is using

counterfeits and infringements of ABS-CBN’s federally registered trademarks “TFC” and

“ABS-CBN” to advertise and promote his Pirate Boxes and Pirate Services on several

Facebook.com social media pages, including a Facebook.com account under the name

“Ann Ong,” his own personal Facebook.com account under the name “Tony Brown,” and

a business Facebook.com account under the name “Lifeforgreatness.”              See, e.g.,



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Complaint ¶¶ 27-35 and 68-74 [Dkt. 1, pp. 8-9 and 15-16]; App. Ex. B – Lawrence Decl.

¶¶ 14-16, pp. 6-7.

         For instance, on October 15, 2019, ABS-CBN’s investigator, Kevin Reyes

(“Reyes”), visited the Facebook profile for “Ann Ong,” where he saw various posts

promoting the Pirate Boxes, including these posts relating to the sale and installation of

such boxes: “Sep 19 [2019] have 3 customers install today for a TV box ... enjoy

watching live tv and new movies and old movies Filipinos channels....;” and “Sep 26

[2019] Thanks god we have 5 customers today ... enjoy ur tv boxes.” See App. Ex. C –

Reyes Decl. at ¶ 4, p. 2 and Exhibit 1 thereto (emphasis added).

         Consequently, Reyes began communicating that day with “Ann Ong” on

Facebook Messenger to purchase a Pirate Box. Id. at ¶ 5, p. 2. “Ann Ong” – who, as

discussed below, later identified himself to be [Defendant] “Anthony Brown” – said that

a Pirate Box was available for $150 with free shipping, and that it could be shipped to

Reyes in Los Angeles, California. Id. In fact, “Ann Ong” stated “I hope you can also

refer more when you have the box and then I give you a cut in the market in California.”

Id. (emphasis added).

         “Ann Ong” provided Reyes with a PayPal profile (Akb1981, which listed the user

as “Anthony Brown”), and confirmed that payment should be sent to “Anthony Brown.”

Id. at ¶ 6, p. 2. “Ann Ong” further told Reyes that his company’s name was 1700 Cuts

Technology, and he provided Reyes with a PayPal invoice for the Pirate Box from 1700

Cuts Technology, which listed its address as “16301 Wimberly Lane, Rosharon, Texas

77583, and its email address as “lifeforgreatness@gmail.com.” Id. (emphasis added).

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                                                           Later that day, Reyes paid $150 to 1700 Cuts Technology via PayPal for the Pirate

Box, and “Ann Ong” confirmed to Reyes that the package had been shipped and provided

him with a USPS tracking number. Id. at ¶ 7, p. 3. Significantly, “Ann Ong” also made

the following admissions to Reyes via Facebook Messenger: (1) in response to Reyes’

inquiry as to whether it was possible to ship another purchase to Florida, “Ann Ong” told

Reyes that “I can ship anywhere” and “we are worldwide;” (2) in response to Reyes’

inquiry as to whether the TV boxes are hacked into for pirating, “Ann Ong” told Reyes

that “I program them [with code],” and “[I work with] a distributor in Kuwait;” and (3)

in response to Reyes’ inquiry as to whether “Anthony Brown” is the distributor, “Ann

Ong” told Reyes “[n]o Anthony Brown is me.” Id. (emphasis added).

                                                           On October 17, 2019, Reyes received a package containing the Pirate Box, which

stated that it was from “Anthony Brown, 1700 Cuts Technology, 16301 Wimberly Lane,

Rosharon, Texas 77583.“ Id. at ¶ 8, p. 3 and Exhibits 2-3 thereto (emphasis added).

This Pirate Box was inspected on November 25, 2019 by ABS-CBN International’s

Global Head of Engineering, Cornelio dela Fuente (“Fuente”), whose job responsibilities

include analyzing the sources of the illegal acquisition and distribution of ABS-CBN

content. See App. Ex. D – Fuentes Decl. at ¶ 5, p. 3. Based on his inspection, Fuente

concluded that the Pirate Box had been altered or programmed to receive ABS-CBN’s

live content without ABS-CBN’s authorization. Id. at ¶ 8, pp. 3-4.5

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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       ABS-CBN would note that Reyes subsequently purchased and received a second
box from the Defendant that ABS-CBN assumes has been illegally modified to intercept
ABS-CBN’s programming, but it has not yet been inspected by Fuentes. See App. Ex. C
– Reyes Decl. at ¶ 9, p. 4 and Exhibit 4 thereto.
                                                                                                                                                                                                                                                    11
	  
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                                                                                                                                                                                                                                                                                                           VI. ARGUMENT

1. Factual Allegations in Plaintiffs’ Complaint are Deemed Admitted

                                                          Upon the entry of default, the factual allegations of the complaint, except those

relating to the amount of damages, are taken as true. See Shipco Gen., Inc., 814 F.2d at

1014; U.S. v. Madzima, No. 3:08-CV-1043, 2009 U.S. Dist. LEXIS 74782, at *2 (N.D.

Tex. Aug. 21, 2009); 10 Moore’s Federal Practice §55.12[1] (3d Ed. 2002). Further, a

party’s default is deemed to constitute a concession of all well-pleaded allegations of

liability. See id.; see also Crawford v. Lee, No. 3:10-CV-1499, 2011 U.S. Dist. LEXIS

55953 (N.D. Tex. May 24, 2011).                                                                                                                                                                                                                                                                                                                Accordingly, by his default, the Defendant has

conceded all well-pleaded allegations of Plaintiffs’ Complaint [Dkt. 1].

2. ABS-CBN has Established Defendant’s Liability

                          (i) Communications Act Claims

                                                          As set forth in paragraph 45 of the Plaintiffs’ Complaint, 47 U.S.C. § 605(a)

prohibits the unauthorized publication or divulgence of the existence, contents, substance,

purport, effect, or meaning thereof, of any transmissions or receptions, or assisting in

such unauthorized publication or divulgence of transmissions or receptions, of various

communications by radio6 or wire, such as the ABS-CBN communications at issue here.

See 47 U.S.C. § 605(a) (emphasis added); Complaint at ¶ 45 [Dkt. 1, p. 11]; see, e.g.,


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
	  
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       For purposes of Section 605(a), “radio” transmissions refer to communications
sent over-the-air via radio waves or satellite, such as the ABS-CBN communications at
issue in this case. See, e.g., Charter Communications Entertainment I, DST v. Burdulis,
460 F.3d 168, 173 (1st Cir. 2006); Complaint at ¶¶ 21-22 [Dkt. 1, pp. 6-7].
                                                                                                                                                                                                                                                                                                                                                                                    12
	  
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ON/TV of Chicago v. Julien, 763 F.2d 830, 843-44 (7th Cir. 1985) (selling decoder

devices assists in receiving communications protected by Section 605(a)).

         Targeting the upstream manufacturers and distributors of the decryption devices

that make these violations possible, Section 605(e)(4) further provides significant

criminal penalties for – and Section 605(e)(3)(C)(i)(II)] increases by tenfold the

applicable range of statutory damages that may be awarded against – any person who,

like the Defendant:

       manufactures, assembles, modifies, imports, exports, sells, or distributes any
       electronic, mechanical, or other device or equipment, knowing or having reason
       to know that the device or equipment is primarily of assistance in the
       unauthorized decryption of satellite cable programming, or direct-to-home
       satellite services, or is intended for any other activity prohibited by § 605(a)....

See 47 U.S.C. § 605(e)(4) (emphasis added); DIRECTV, Inc. v. Montes, 338 F. Supp. 2d

352, 356 (D. Conn. 2004); DIRECTV, Inc. v. Atkins, 320 F. Supp. 2d 474, 475-76 (W.D.

Va. 2004) (defendants violated Section 605(e)(4) by purchasing and redistributing

electronic devices that allow end users to circumvent DIRECTTV’v encryption measures

and access satellite programming without paying for it). Section 650(a) and Section

605(e)(4) are separate violations. See DirectTV, Inc. v. Walsh, 540 F. Supp. 2d 553,

559-60 (M.D. Penn. 2008).

         In this case, ABS-CBN alleges, among other things, that:

         1.     Without ABS-CBN’s authorization, Defendant publishes and/or divulges

the contents of ABS-CBN’s protected communications to persons not permitted to

receive such communications. See Complaint at ¶¶ 46-48 and 50 [Dkt. 1, pp. 11-12].



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                                                           2.                                                         Defendant has engaged in the modification, import, sale, and/or distribution

of the Pirate Equipment, which is primarily intended to publish and divulge ABS-CBN’s

protected communications as Pirate Services to persons not intended to receive such

communications via circumvention of ABS-CBN’s encryption technology. Id. at ¶¶ 46

and 49 [Dkt. 1, pp. 11-12].

                                                           3.                                                         Defendant has engaged in these activities willfully and for his own

commercial advantage and/or private financial gain, and with full knowledge of the

primary nature of such Pirate Equipment and Pirate Services, as described above. Id. at

¶¶ 46 and 50 [Dkt. 1, pp. 11-12].

                                                           4.                                                         ABS-CBN has and will continue to sustain irreparable harm, injury, and

monetary damages caused by Defendant’s unlawful conduct, absent the entry of an

injunction. Id. at ¶¶ 50-53 [Dkt. 1, pp. 12-13].

                                                           As discussed in Section VI(1) above, all of these well-pleaded allegations are

deemed admitted by the Defendant’s default. Accordingly, ABS-CBN’s well-pleaded

allegations, together with the evidence submitted in support of this Motion (see Section

V(3) above), firmly establish that (1) the Defendant is liable to ABS-CBN for its claims

under both Sections 605(a) and 605(e)(4); and (2) the Defendant’s violations were

committed willfully7 and for purposes of his own direct or indirect commercial advantage

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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       The Supreme Court has defined “willful” in the context of a civil statute as
conduct showing “disregard for the governing statute and an indifference for its
requirements.” TransWorld Airlines, Inc. v. Thurston, 105 S. Ct. 613, 625 (1985). For
purposes of both the Communications Act and Lanham Act claims in this action, the
Defendant’s willfulness is not only established by virtue by his default, but also by his
acts and admissions (see Section V(3) above), including his failure to appear and defend
                                                                                                                                                                                                                                                    14
	  
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or private financial gain. See also Complaint at ¶ 49 [Dkt. 1, p. 12] (Defendant’s illegal

actions constitute violations of Section 605(a)).

                          (ii) Lanham Act Claims

                                                          As set forth in paragraph 67 of the Complaint, 15 U.S.C. § 1114 prevents the use

in commerce of any reproduction, counterfeit, copy, or colorable imitation of a registered

mark in connection with the sale, offering for sale, distribution, and/or advertising of any

goods or services on or in connection with which such use is likely to cause confusion,

mistake, or to deceive. See 15 U.S.C. § 1114; Complaint at ¶ 67 [Dkt. 1, p. 15].

                                                          To establish a claim for infringement or counterfeiting of trademarks under the

Lanham Act, a plaintiff must show: (1) ownership in a legally protectable mark, and (2)

infringement by demonstrating a likelihood of confusion. Coach, Inc. v. Brightside

Boutique, 2012 WL 32941 (W.D. Texas January 6, 2012) (quoting Amazing Spaces, Inc.

v. Metro Mini Storage, 608 F.3d 225, 236 (5th Cir 1998)).

                                                          With respect to the first prong, ABS-CBN has pleaded, and introduced evidence

verifying, its ownership and registration with the United States Patent and Trademark

Office of the ABS-CBN Registered Marks. See Complaint at ¶¶ 11 and 19 [Dkt. 1, pp. 4-

5] and Exhibit 1 thereto [Dkt. 1-1]; App. Ex. B – Lawrence Decl. ¶ 7, pp. 3-4. The

registrations of the ABS-CBN Registered Marks are prima facie evidence of the validity

of the ABS-CBN Registered Marks and ABS-CBN’s exclusive right to use these

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
himself against ABS-CBN’s allegations of willful misconduct. See, e.g., Arista Records,
Inc. v. Beker Enter.Inc., 298 F. Supp. 2d 1310, 1313 (S.D. Fla. 2003) (willfulness may be
inferred by the defendant’s failure to appear and defend).

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trademarks in commerce in connection with the services identified in the registrations.

See 15 U.S.C. § 1057(b) (2000). ABS-CBN has identified two (2) of its registered

trademarks, “TFC” and “ABS-CBN,” that the Defendant has counterfeited to use in the

promotion and sale of his Pirate Equipment and Pirate Services. See Section V(3) above.

         With respect to the second prong, courts in the Fifth Circuit have generally

recognized that when there is a counterfeit mark, likelihood of confusion is clear. See

Microsoft Corp. v. Wholesale Club, Inc., 129 F. Supp.2d 995, 1007 (S.D. Tex. 2000).

         In this case, ABS-CBN alleges, among other things, that:

         1.    Defendant has used counterfeits, copies, and/or colorable imitations of the

ABS-CBN Marks in connection with his advertisement, promotion, offers to sell, and

sale of the Pirate Equipment and Pirate Services at issue herein. See, e.g., Complaint at ¶¶

68-69 [Dkt. 1, pp. 15-16].

         2.    Defendant’s counterfeiting and infringing use of the ABS-CBN Marks is

willful, and is likely to cause and actually is causing confusion, mistake, and deception

among members of the general public as to the origin and quality of the Pirate Equipment

and Pirate Services. Id. at ¶¶ 33, 39 and 70 [Dkt. 1, pp. 9-10 and 16].

         3.    ABS-CBN has and will continue to sustain irreparable harm, injury, and

monetary damages caused by Defendant’s conduct, absent the entry of an injunction. Id.

at ¶¶ 71 and 73 [Dkt. 1, p. 16]

         Again, all of these well-pleaded allegations are deemed admitted by the

Defendant’s default. Accordingly, ABS-CBN’s well-pleaded allegations, together with

the evidence submitted in support of this Motion (see Section V(3) above), have also

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established the Defendant’s liability to ABS-CBN for its claims of willful trademark

counterfeiting and infringement under the Lanham Act. See also Complaint at ¶ 72 [Dkt.

1, p. 16] (Defendant’s illegal actions constitute violations of Section 1114).

3. ABS-CBN is Entitled to a Permanent Injunction

         The entry of a permanent injunction is a proper remedy for violations of both the

Communications Act and the Lanham Act.                    Section 605(e)(3)(B)(i) of the

Communications Act specifically provides that “[t]he court may grant ... final injunctions

on such terms as it deems reasonable to restrain violations of [the Act].” 47 U.S.C. §

605(e)(3)(B)(i)); see, e.g., International Cablevision, Inc. v. Cancari, 960 F. Supp. 28, 31

(W.D.N.Y 1997) (where a defendant has violated the Communications Act, “permanent

injunctive relief is appropriate” to enjoin future violations of the Act).

         Likewise, a plaintiff is entitled to a permanent injunction under the Lanham Act to

prevent any future trademark infringement by a defendant. See 15 U.S.C. § 1116; see,

e.g., Pebble Beach Co. v. Tour 18 I Ltd., 155 F.3d 526, 549-50 (5th Cir. 1998). In fact,

injunctive relief is one of the standard remedies in a trademark infringement case. See,

e.g., Wescosign, Inc. v. IFG Holdings, Inc., 845 F. Supp. 2d 1072, 1083 (C.D. Cal. 2012)

(in granting a permanent injunction, the court recognizes that “[i]njunctive relief is the

remedy of choice for trademark ... cases, since there is no adequate remedy at law for the

injury caused by a defendant’s continuing infringement.”).

         In this Circuit, permanent injunctive relief is appropriate, even in the default

context, if the plaintiff demonstrates: "(1) actual success on the merits; (2) no adequate

remedy at law; (3) that the threatened injury outweighs any damage to the defendant; and

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(4) that the injunction will not disserve the public interest." Coach, Inc. v. Linda's

Accesorios Y Cellulares, No. 3:11-CV-0496, 2011 U.S. Dist. LEXIS 71351, at *4 (N.D.

Tex. June 30, 2011) (citing DSC Comms. Corp. v. DGI Tech., Inc., 81 F.3d 597, 600 (5th

Cir. 1996)).

         By virtue of the Defendant’s default, ABS-CBN has succeeded on the merits of

this action, and has established that it has no remedy at law and will continue to suffer

irreparable harm if the Defendant is not permanently enjoined from, among other things,

selling his Pirate Boxes and Pirate Services, and infringing ABS-CBN’s Marks. See,

e.g., Caribbean Produce Exchange, 65 F.R.D. at 48 (by its default, a defendant’s liability

to plaintiff is deemed established); Complaint ¶ 41 [Dkt. 1, p. 11] (“ABS-CBN has no

adequate remedy at law.”); App. Ex. B – Lawrence Decl. ¶ 13, p. 6 (Defendant’s

misconduct causes irreparable harm to ABS-CBN’s goodwill); Complaint ¶¶ 42, 53 and

73 [Dkt. 1, pp. 11, 13 and 16] (without a permanent injunction, ABS-CBN will continue

to suffer irreparable injury).

         Moreover, the irreparable harm to ABS-CBN unquestionably outweighs any

damage that could possibly result to the Defendant from the issuance of the permanent

injunction requested since (1) the Defendant’s sales of Pirate Equipment and Pirate

Services are criminal acts (see Sections 605(e)(2) and (4)) that wrongfully deprive ABS-

CBN of revenues to which it is entitled; and (2) the Defendant has absolutely no lawful

interest in the ABS-CBN Marks that he’s infringing. Indeed, the public interest is always

served by requiring compliance with Congressional statutes such as the Communications

Act and the Lanham Act, and by enjoining violations of these Acts. See, e.g., Quantum

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Fitness Corporation v. Quantum Lifestyle Centers, LLC, 83 F. Supp. 2d 810, 832 (S.D.

Tex. 1999) (“the public interest is always served by requiring compliance with

Congressional statutes such as the Lanham Act and by enjoining the use of infringing

marks.”); see also ON/TV of Chicago v. Julian, 763 F.2d 839, 844 (7th Cir. 1985)

(“enjoining the sale of pirate decoders [which violates the Communications Act] would

further the public interest by protecting the viability of the subscription television

industry.”).

          For these reasons, ABS-CBN respectfully submits that the Defendant should be

permanently enjoined from, among other things, promoting and selling his Pirate Boxes

and Pirate Services, and infringing upon ABS-CBN’s Marks, as set forth in the proposed

Judgment that is submitted as an attachment to this Motion.

4. ABS-CBN is Entitled to Recover Statutory Damages

       (i) Communications Act Claims

          Section 605(e)(3)(C) provides that plaintiffs may elect to recover either (1) their

actual damages and any profits of the violator attributable to the violation; or (2) statutory

damages. See 47 U.S.C. §605(e)(3)(C). In cases such as this where ABS-CBN has

elected to recover statutory damages, Section 605(e)(3)(C)(i)(II) provides that plaintiffs

may recover statutory damages in the sum of (1) not less than $1,000 nor more than

$10,000, as the court considers just, for each violation of Section 605(a); and (2) not less

than $10,000 nor more $100,000, as the court considers just, for each violation of Section

605(e)(4), which again, targets people like the Defendant who provide the illegal devices

that make communications theft possible. See 47 U.S.C. § 605(e)(3)(C)(i)(II). Moreover,

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in cases such as this where the violations were committed “willfully and for purposes of

direct or indirect commercial advantage or private financial gain,” the court in its

discretion may increase the award of damages, whether actual or statutory, by an amount

of not more than $100,000 for each violation of Section 605(a).              See 47 U.S.C.

§605(e)(3)(C)(ii).

         Again, by virtue of the Defendant’s default and as corroborated by the additional

evidence submitted in support of this Motion, ABS-CBN has established that (1) the

Defendant is liable to ABS-CBN for violations of both Sections 605(a) and 605(e)(4);

and (2) the violations were committed willfully and for purposes of direct or indirect

commercial advantage or private financial gain.”           See Section VI(2)(i) above.

Accordingly, ABS-CBN is entitled to recover statutory damages in the sum of (1) $1,000

to $10,000 for each violation of Section 605(a), which may be increased by up to

$100,000 per violation because the violations were committed willfully and for financial

gain; and (2) $10,000 to $100,000 for each violation of Section 605(e)(4).

         By choosing to default, however, the Defendant has deprived ABS-CBN of the

opportunity to conduct the discovery necessary to determine the number of Section

605(a) and Section 605(e)(4) violations that the Defendant willfully committed; and

hence, the full range of statutory damages to which ABS-CBN may be entitled.

Nevertheless, in fashioning an award, the Court should consider the breadth and patent

illegality of the Defendant’s piracy operation, and what Congress was trying to

accomplish by providing statutory damages in these types of cases.



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         While ABS-CBN only analyzed one of the “Smart” TV boxes that Reyes

purchased from the Defendant and determined that it had been unlawfully modified to

receive ABS-CBN’s programming without its consent, the evidence presented (including

the Defendant’s own admissions) demonstrate that (1) the Defendant’s illegal operation

was widespread; (2) he fully intended to expand his operation and increase his illicit

sales; and (3) he surely sold many more Pirate Boxes than the one that was purchased and

analyzed by ABS-CBN. See Section V(3) above.

         Again, the Defendant told Reyes that (1) “we are worldwide;” (2) “[he] can ship

anywhere;” (3) “[he works with] a distributor in Kuwait;” and (4) he would give Reyes a

cut of the California market if Reyes could refer more illicit business to him. In fact, the

Defendant’s “Ang Ong” Facebook posts indicate that he sold three (3) and five (5) Pirate

Boxes, respectively, on just September 19, 2019 and September 26, 2019 alone. Id.

Moreover, the Defendant undoubtedly knew that his scheme was illegal, as evidenced by

(1) his admission that he was the person who illegally modified the Pirate Boxes; (2) his

use of aliases such as “Ann Ong” in the marketing and sale of his Pirate Boxes and Pirate

Services; (3) his efforts to evade service by misrepresenting his true identity to the

process server; and (4) his decision to default rather than appear to defend himself in this

action. Consequently, the Defendant’s illegal actions alone call for a significant statutory

damage award in this case. See Sections I and V(3) above.

         A significant award is also necessary here to achieve the very purpose of the

Communications Act. Congress recognized that a violation of this piracy statute is theft,

which:

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       deprives the cable industry of millions of dollars of revenue each year which it
       should otherwise be receiving ... poses a major threat to the economic viability of
       cable operators and cable programmers, and creates unfair burdens on cable
       subscribers who are forced to subsidize the benefits that other individuals are
       getting by receiving cable service without paying for it.

See J & J Sports Productions, Inc. v. Segura, 2018 WL 1868271, at *5 (N.D. Cal. 2018);

see, e.g., Julien, 763 F.2d at 843 (“Sales of devices designed solely to intercept protected

communications threaten the viability of the subscription television industry and there is

no countervailing social or policy consideration that would justify these sales.”)

(emphasis added). In fact, Congress considered Section 605(e)(4) violations like those at

issue here so serious that it imposed criminal sanctions of up to $500,000 in fines, and/or

up to five (5) years in prison, for each illegal device modified, sold, etc. See 47 U.S.C.

§605(e)(4) (“the prohibited activity ... as it applies to each such device shall be deemed a

separate violation.”) (emphasis added). Accordingly, in addition to compensating the

aggrieved party whose actual damages, like the violator’s profits, often cannot be

determined because violators seldom keep accurate records and frequently default, “a

primary goal of piracy awards is deterrence, and the piracy statutes contemplate both

specific and general deterrence.” See Segura, 2018 WL 1868271, at *5; J & J Sports

Productions, Inc. v. J.R. ‘Z Neighborhood Sports Bar & Grille, 2010 WL 1838432, at *2

(D.S.C. April 5, 2010) (“a firm judicial hand is required to stop this predatory behavior,

which is outright thievery, and to compensate the aggrieved appropriately.”) (emphasis

added). Moreover, the court’s discretion in determining an appropriate statutory award is

limited only by the minimum and maximum statutory amounts specified in Section 605.

See, e.g., Network Productions, 902 F.2d at 852-53.

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                                                           While the evidence here indicates that the Defendant’s sales of Pirate Equipment

and Pirate Services were considerable, ABS-CBN is only seeking statutory damages for

the sale of the one (1) Pirate Box that ABS-CBN analyzed and confirmed to be illegally

modified. For this violation of Section 605(e)(4), ABS-CBN respectfully requests an

award in the maximum amount of $100,000, which ABS-CBN submits is fair and

reasonable under the circumstances.                                                                                                                                                                                                                   In fact, it would be the minimum amount of

statutory                                                                                        damages                                                                                           to                                      which    ABS-CBN   would   be   entitled   under   Section

605(e)(3)(C)(i)(II) if ABS-CBN had been able to conduct some minimal discovery

simply to confirm that the eight (8) boxes that the Defendant sold on just September 19th

and September 26th alone (as referenced in “Ang Ong’s” Facebook posts), and the

second box that the Defendant sold Reyes that has not yet been analyzed, had also been

illegally designed or modified to intercept ABS-CBN’s programming without its

consent.8 It is also $400,000 less than the maximum fine that the Defendant would be

facing if this were a criminal action. See 47 U.S.C. §605(e)(4).

                                                           ABS-CBN further submits that a statutory damage award of $100,000 in this case

would serve the very purpose of Section 605(e)(3)(C)(i)(II) by (1) compensating ABS-

CBN for revenues that it unquestionably lost because of the Defendant’s theft; and (2)

sending a clear message to the Defendant and others like him that communications theft

will not be tolerated, and that if you get caught, you cannot simply default in order to

avoid accountability and shelter your ill-gotten revenues.

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                                                                  That would make at least 10 confirmed sales of Pirate Boxes multiplied by the
minimum statutory award of $10,000 per violation.	  
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       (ii) Federal Trademark Counterfeiting Claims

          ABS-CBN also elects to recover statutory damages for its federal trademark

counterfeiting claims pursuant to 15 U.S.C. § 1117(c). See 15 U.S.C. § 1117(c) (“In a

case involving the use of a counterfeit mark ... the plaintiff may elect ... to recover

[statutory damages] instead of actual damages and profits ....”). Section 1117(c)(1)

provides for an award of not less than $1,000 nor more than $200,000 per counterfeit

mark per type of goods or services sold, offered for sale, or distributed, as the court

considers just. See 15 U.S.C. § 1117(c)(1). However, in cases like this where the

defendant’s counterfeiting actions are found to be willful, the court has discretion to

impose damages of up to $2,000,000 per counterfeit mark per type of good or service

sold, offered for sale, or distributed. See 15 U.S.C. § 1117(c)(2).

          Similar to the Communications Act, Congress enacted the statutory damages

remedy in trademark counterfeiting cases to (1) compensate trademark owners for losses

since it’s often impossible to prove actual damages or a defendant’s profits given the

deception routinely practiced by counterfeiters; (2) punish wrongdoers; and (3) deter

future misconduct. See e.g., Gucci America, Inc. v. Duty Free Apparel, Ltd., 315 F.

Supp. 2d 511, 520 (S.D.N.Y. 2004), overruled on other grounds, Louis Vuitton Malletier

S.A. v. LY USA, Inc., 676 F.3d 83, 106 (2d Cir. 2012) (quoting S. Rep. 104-177, at 10

(1995) (“Congress added the statutory damages provision of the Lanham Act in 1995

because ‘counterfeiters’ records are frequently nonexistent, inadequate, or deceptively

kept … making proving actual damages in these cases extremely difficult if not

impossible.”); Joint Statement of Trademark Counterfeiting Legislation, 130 Cong. Rec.

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H12076, H12083 (daily ed. Oct. 10, 1984); H-D U.S.A., LLC v. SunFrog, LLC, 311 F.

Supp. 3d 1000, 1046 (E.D. Wis. 2018) (“An award of statutory damages serves dual

interests in that it is remedial in nature but also intended to protect an important public

interest” in deterring counterfeiting).

         Likewise, district courts have broad discretion in setting the amount of statutory

damages awarded under the Lanham Act. See, e.g., Dial One of the Mid-South, Inc. v.

BellSouth Telecomms., Inc., 269 F.3d 523, 527 (5th Cir. 2001); Rolex Watch U.S.A.,

Inc. v. Meece, 158 F.3d 816, 824 (5th Cir. 1998). In fact, an award of statutory damages

is appropriate even if a plaintiff is unable to prove any actual damages caused by the

defendant’s infringement. See Ford Motor Co. v. Cross, 441 F. Supp. 2d 837, 853 (E.D.

Mich. 2006 (“[A] successful plaintiff in a trademark infringement case is entitled to

recover enhanced statutory damages even where its actual damages are nominal or non-

existent.”) (emphasis added); Phillip Morris U.S.A., Inc. v. Liu, 489 F. Supp. 2d 1119,

1123-24 (C.D. Cal. 2007) (noting that even if the plaintiff suffered only nominal

damages, it’s permissible to award maximum statutory damages to compensate the

plaintiff, punish the defendant for his willful violations, and deter the defendant and other

counterfeiters).

         Although the Lanham Act does not provide courts with guidelines as to how to

select a damage figure within the statutory range, courts generally consider the same

factors as in cases brought under the Copyright Act: the willfulness of the defendant's

conduct, the value of the trademark, whether the defendant cooperated in providing the

necessary records to access the value of the infringing material, the deterrent effect of an

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award on the defendant and others, and the losses sustained by the plaintiff. See, e.g.,

Cartier Intern. B.V. v. Ben-Menachem, 2008 WL 64005, *14 (S.D.N.Y. 2008).

         Here, the Defendant is willfully using two (2) counterfeit ABS-CBN Registered

Marks (“TFC” and “ABS-CBN”) in his promotion and sale of two (2) types of goods or

services (Pirate Boxes and Pirate Services). Indeed, there is absolutely no legitimate

reason for the Defendant to be using counterfeit ABS-CBN Registered Marks in this

manner other than to trade on ABS-CBN’s world-renowned reputation to unjustly enrich

himself. See App. Ex. B – Lawrence Decl. ¶¶ 10-13, pp. 5-6 (ABS-CBN has spent

millions promoting its services and associated Marks, which have come to symbolize

ABS-CBN’s enormous goodwill throughout the world, and are of great value to ABS-

CBN’s overall business). By doing so, ABS-CBN has unequivocally lost revenue that it

was entitled to receive, and its Marks, reputation and goodwill have undoubtedly been

harmed by the Defendant associating these assets with inferior equipment that provides

pirated content. Id. at ¶¶ 20-21, pp. 8-9. However, we’ll never know the full extent of

the damage caused by the Defendant’s misconduct because he has chosen to default in

hopes of avoiding accountability.

         For these reasons, ABS-CBN respectfully requests a statutory damage award of

$500,000 for each of the two counterfeit ABS-CBN Registered Marks that the Defendant

willfully used to promote and sell his two types of goods or services (Pirate Boxes and

Pirate Services) – for a total award of $2,000,000. This amount is substantially less than

the maximum amount ($8,000,000) that could be awarded under the circumstances; it is



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below or commensurate with amounts awarded in similar cases;9 and it fairly achieves

the legislative purposes of Section 1117(c) for the same reasons discussed in Section

VI(4)(i) above.

                                                                                                                                                                                                                                                    VII. CONCLUSION

                                                           For these reasons, ABS-CBN respectfully requests that the Court enter a Final

Default Judgment and Permanent Injunction against Defendant in the form attached

hereto, awarding Plaintiff, among other things:

                                                           (1) permanent injunctive relief as set forth in the attached proposed Judgment;

                                                           (2) statutory damages under 47 U.S.C. § 605(e)(3)(C)(i)(II) and 15 U.S.C.
                                                               § 1117(c) in the sums of $100,000.00 and $2,000,000.00, respectively;

                                                           (3) post-judgment interest on all monetary amounts awarded; and

                                                           (4) such other and further relief to which ABS-CBN may be justly entitled.

Dated: August 12, 2020                                                                                                                                                                                                                                   Respectfully submitted,

                                                                                                                                                                                                                                                         BY: s/Steven M. Abbott
                                                                                                                                                                                                                                                              Steven M. Abbott
                                                                                                                                                                                                                                                              State Bar No. 00797825
                                                                                                                                                                                                                                                              Federal I.D. No. 9027
                                                                                                                                                                                                                                                         Attorney-in-charge for Plaintiffs
                                                                                                                                                                                                                                                         510 Bering Drive, Suite 300
                                                                                                                                                                                                                                                         Houston, Texas 77057
                                                                                                                                                                                                                                                         Telephone: (713) 467-1669
                                                                                                                                                                                                                                                         Facsimile: (713) 467-4936
                                                                                                                                                                                                                                                         E-mail: abbottsteven@hotmail.com
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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        See, e.g., ABS-CBN Corp. v. aceshowbiz.me, 0:18-cv-61553 (S.D. Fla. Oct. 18,
2018) (awarding $1,000,000 against each defendant for willfully using one (1)
counterfeit mark for one (1) good or service); Philip Morris U.S.A., Inc. v. Castworld
Prods., Inc., 219 F.R.D.494, 501-02 (C.D. Cal. 2003) (awarding $2,000,000 for the
willful counterfeiting of two (2) trademarks for one (1) type of product); Philip Morris
U.S.A., Inc. v. Lee, 547 F. Supp. 2d. 685, 697 (W.D. Tex. 2008) (awarding $1,000,000
for the willful counterfeiting of two (2) trademarks for one (1) type of product).
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